 Case 2:18-cv-00107-D-BR Document 27 Filed 12/20/18                   Page 1 of 1 PageID 179


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

RUBICELA RAMIREZ and                            §
FRANCISCO GONZALES,                             §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §            2:18-CV-107-D
                                                §
JAMES KILLIAN, a.k.a. “JR Killian” and          §
KENT RILEY,                                     §
                                                §
       Defendants.                              §


                                            ORDER

       After making an independent review of the pleadings, files, and records in this case, and the

November 5, 2018 findings, conclusions, and recommendations of the magistrate judge, the court

concludes the magistrate judge’s findings and conclusions are correct. It is therefore ordered that

the findings, conclusions, and recommendations of the magistrate judge are adopted.

       Accordingly, defendant Kent Riley’s July 11, 2018 motion to dismiss is granted in part and

denied in part, and defendant James Killian’s September 17, 2018 motion to dismiss is granted in

part and denied in part.

       SO ORDERED.

       December 20, 2018.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE
